Plaintiff sued to recover sale price of two carloads of grapes received by defendant, and had judgment in a trial without a jury. Defendant brings error. *Page 330 
The cars were sold through Hoien, a broker at Lansing. As to first car, defendant contends that it bought from Hoien personally, not from plaintiff. Plaintiff contends it sold to defendant through Hoien as agent.
The evidence pro and con presented a question of fact, which the court rightly decided in favor of plaintiff.
The other car was diverted to a dealer in Jackson. Was this for the account of defendant, or of plaintiff, or Hoien? The trial judge found the diversion was for account of defendant, who must look to the dealer in Jackson, and that defendant is indebted to plaintiff for the price of the fruit. The evidence sufficiently supports the finding, and it may not be disturbed.
Affirmed.
BUTZEL, C.J., and WIEST, McDONALD, POTTER, SHARPE, NORTH, and FEAD, JJ., concurred.